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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

V.                                                    CRIMINAL ACTION NO.: 2:12CR005-SA

JEMARIO DAVIDSON                                                                     DEFENDANT

                                      ORDER ON MOTION

       Defendant Jemario Davidson seeks to terminate his supervised release. Davidson claims

he cannot obtain employment with a trucking company as he is not authorized to drive out of

state without prior notice and approval from the United States Probation Service.

       A court may “terminate a term of supervised release and discharge the defendant released

at any time after the expiration of one year of supervised release . . . if it is satisfied that such

action is warranted by the conduct of the defendant released and the interest of justice” after

consideration of the factors in 18 U.S.C. Section 3553. The Fifth Circuit recognizes the broad

discretion accorded district courts in evaluating whether to terminate a term of supervised

release. United States v. Jeanes, 150 F.3d 483, 484 (5th Cir.1998).

       The Court finds that the Defendant has not demonstrated eligibility for termination of his

supervised release at this time. He may, however, be eligible for consideration at a later time,

provided the Probation Office deems him a worthy candidate for early termination.

       Accordingly, the Motion for Early Termination of Supervised Release [130] is DENIED.

       SO ORDERED, this the 5th day of July, 2017.

                                                              /s/ Sharion Aycock_________
                                                              U.S. DISTRICT JUDGE
